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     March 11, 2021


     VIA ELECTRONIC MAIL ONLY

     The Honorable Susan Richard Nelson
     United States District Court Judge
     District of Minnesota
     316 N. Robert Street
     St. Paul, MN 55101
     Nelson_chambers@mnd.uscourts.gov

              Re:       Kaarin Nelson Schaffer, as Trustee for the Next of Kin of George P. Floyd, Jr.,
                        Deceased v. Derek Chauvin, et al., Case No. 20-CV-01577 (SRN/TNL) – Request for
                        Extension of Time to Respond

     Your Honor:

              On March 4, 2021, counsel for Individual Defendants Derek Chauvin, Tou Thao,
     Thomas Lane, and J. Alexander Kueng filed a motion to further extend a stay of these
     proceedings pending the outcome of parallel criminal cases against Defendants. [See ECF
     Nos. 53-57]. The current stay expires on April 1, 2021. Per District of Minnesota LR 7.1(b)
     and based on an available hearing date they secured for March 19, 2021, Defendant needed
     to file their motion March 4th and Plaintiff’s response is due March 11, 2021. Plaintiffs write
     with the support of all parties in this action to request an extension of time to respond to this
     motion or, in the alternative, that the court reset the hearing for a later available date.

            Obviously, this case and the parallel criminal cases have been the subject of
     considerable attention and activity over the last week. All parties in this matter recognize that
     additional time to evaluate the changing landscape will likely allow us to reach an agreement
     regarding the extension of the stay and eliminate the need for additional briefing and a hearing.

            Accordingly, Plaintiffs request an extension of time until March 17, 2021 to respond
     to Defendants’ motion or, in the alternative, resetting the hearing at a later date convenient
     for the Court. Regardless of when the motion is heard, the parties agree that the current stay
     will be effective until the Court decides the pending motion.


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         Thank you for your consideration of this request.



                                                 Sincerely,



                                                 Michelle Gilboe

cc:      All Counsel of Record




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